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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

SAN ANGELO DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Vv. NO. 6:19-CR-041-01-H
ERIC MARTINEZ (01),
Defendant.

NOTICE OF INTENT TO IMPOSE
CONDITIONS OF SUPERVISED RELEASE

During the upcoming sentencing hearing, the Court will consider any objections to
conditions of supervised release that may be imposed. To that end, the Court notifies the
parties that, in addition to the mandatory conditions listed in 18 U.S.C. § 3583(d), the Court
intends to impose the following Standard Conditions recommended by the United States
Sentencing Commission at Section 5D1.3(c) of the Guidelines Manual. The Court also
intends to impose the special conditions listed below, which in light of the facts and
circumstances of this case are (1) reasonably related to the factors set forth in 18 U.S.C.

§§ 3553(a)(1), (a)(2)(B), (a)(2)(C), and (a)(2)(D), and (2) involve no greater deprivation of
liberty than is reasonably necessary for the purposes set forth in Section 3553(a)(2)(B),
(a)(2)(C), and (a)(2)(D). Defense counsel must review this notice with the defendant, have
the document signed after the review, and return the signed notice to the Court.

Standard Conditions:

1. The defendant shall report to the probation office in the federal judicial
district where he or she is authorized to reside within 72 hours of release from
imprisonment, unless the probation officer instructs the defendant to report to
a different probation office or within a different time frame.
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Zi, After initially reporting to the probation office, the defendant will receive
instructions from the court or the probation officer about how and when to
report to the probation officer, and the defendant shall report to the probation
officer as instructed.

3. The defendant shall not knowingly leave the federal judicial district where he
or she is authorized to reside without first getting permission from the court or
the probation officer.

4. The defendant shall answer truthfully the questions asked by the probation
officer.

5. The defendant shall live at a place approved by the probation officer. If the
defendant plans to change where he or she lives or anything about his or her
living arrangements (such as the people the defendant lives with), the
defendant shall notify the probation officer at least 10 days before the change.
If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant shall notify the probation
officer within 72 hours of becoming aware of a change or expected change.

6. The defendant shall allow the probation officer to visit the defendant at any
time at his or her home or elsewhere, and the defendant shall permit the
probation officer to take any items prohibited by the conditions of the
defendant’s supervision that he or she observes in plain view.

7. The defendant shall work full time (at least 30 hours per week) at a lawful
type of employment, unless the probation officer excuses the defendant from
doing so. If the defendant does not have full-time employment, he or she shall
try to find full-time employment, unless the probation officer excuses the
defendant from doing so. If the defendant plans to change where the
defendant works or anything about his or her work (such as the position or
the job responsibilities), the defendant shall notify the probation officer at
least 10 days before the change. If notifying the probation officer in advance is
not possible due to unanticipated circumstances, the defendant shall notify the
probation officer within 72 hours of becoming aware of a change or expected
change.

8. The defendant shall not communicate or interact with someone the defendant
knows is engaged in criminal activity. If the defendant knows someone has
been convicted of a felony, the defendant shall not knowingly communicate
or interact with that person without first getting the permission of the
probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the
defendant shall notify the probation officer within 72 hours.
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10. The defendant shall not own, possess, or have access to a firearm,
ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or
death to another person, such as nunchakus or tasers).

11. The defendant shall not act or make any agreement with a law enforcement
agency to act as a confidential human source or informant without first
getting the permission of the court.

12. ‘If the probation officer determines that the defendant poses a risk to another
person (including an organization), the probation officer may require the
defendant to notify the person about the risk, and the defendant shall comply
with that instruction. The probation officer may contact the person and
confirm that the defendant has notified the person about the risk.

13. The defendant shall follow the instructions of the probation officer related to
the conditions of supervision.

Special Conditions:

1. The defendant shall participate in a program (inpatient and/or outpatient)
approved by the U.S. Probation Office for treatment of narcotic, drug, or
alcohol dependency, which will include testing for the detection of substance
use or abuse. The defendant shall abstain from the use of alcohol and/or all
other intoxicants during and after completion of treatment. The defendant
shall contribute to the costs of services rendered (copayment) at a rate of at least
$40.00 per month.

2. The defendant shall not associate, communicate, or otherwise interact with any
known member of the Mexican Mafia gang.

Dated May &, 2020.

 

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/James Wesley Hendrix

“ United States District Judge

 

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Defer, se unsel

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